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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

    HEALTHPLAN SERVICES, INC.,

           Plaintiff,

    v.                                                CASE NO.: 8:18-cv-02608-SDM-AAS

    RAKESH DIXIT, et al.,

          Defendants.
    ________________________________/



                                            NOTICE

           Plaintiff, HealthPlan Services, Inc. (“Plaintiff”), by undersigned counsel, and

    pursuant to this Court’s Order entered February 12, 2020 (Doc. No. 265), hereby advises the

    Court that counsel for the parties have conferred and that all counsel are available on

    February 19, 2020 at 3:00 p.m. for a telephonic hearing to consider Plaintiff’s Motion for

    Substitution of Local Counsel (Doc. No. 263).
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    Dated: February 13, 2020                              Respectfully Submitted,

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                                                          Attorneys for Plaintiff,
                                                          HealthPlan Services, Inc.


                                    CERTIFICATE OF SERVICE
            I HEREBY certify that on February 13 2020, I electronically filed the foregoing

    document with the Clerk of the Court via CM/ECF, which will send a notice of electronic

    filing to all counsel of record in this action.


                                                          s/ Casey Reeder Lennox




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